     Case 1:10-cr-00398-ADA-BAM Document 159 Filed 02/27/14 Page 1 of 3


 1   Eric K. Fogderude # 070860
     FLETCHER & FOGDERUDE, INC.
 2
     5412 N Palm Ave # 101
 3   Fresno, CA 93704
     Telephone: 559-431-9710
 4   Attorney for Defendant, JON VANCE MCDADE
 5

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 7

 8                            IN THE UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                        No. 1:10-CR-00398 AWI
12                              Plaintiff,            STIPULATION AND ORDER
                                                      REGARDING FINANCIAL ACCOUNTING
13          v.
14   JAMES LEE LANKFORD and JON
     VANCE MCDADE aka Jon Vance
15   Lankford,
16                             Defendant.
17

18

19          WHEREAS, on January 27, 2014, defendants JAMES LEE LANKFORD and JON
20   VANCE MCDADE were sentenced and among other things ordered to pay restitution in the
21   amount of $ 948,826 and $ 1,443.826 (jointly and severally with co-defendant LANKFORD),
22   respectively and defendant JON VANCE MCDADE was ordered to file with the Court on or
23   before February 26, 2014 an accounting of any real property ownership interest and accrual
24   and/or distribution of any income or other funds for the time period of October 2010 to present.
25          WHEREAS, defendant MCDADE, through his attorney of record, has provided a
26   informal progress report to the government of such interests, but additional time is needed to
27   secure and/or identify such interests;
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                                                      1
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 1
            ACCORDINGLY, the parties agree and stipulate that good cause exists for the granting of
 2
     an extension of time to allow defendant MCDADE to file with the Court the above referenced
 3
     financial accounting until on or before March 17, 2014.
 4

 5
     DATED: February 27, 2014                    FLETCHER & FOGDERUDE, INC.
 6
                                                  /s/ Eric K. Fogderude             .
 7                                               ERIC K. FOGDERUDE
                                                 Attorney for Defendant, JON VANCE MCDADE
 8

 9

10
     DATED: February 27, 2014                    Benjamin B. Wagner
11
                                                 United States Attorney
12
                                                 /s/ Christopher D. Baker                         .
13                                               CHRISTOPHER D. BAKER
                                                 Assistant US Attorney
14

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     Case 1:10-cr-00398-ADA-BAM Document 159 Filed 02/27/14 Page 3 of 3


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 4   Attorney for Defendant, JON VANCE MCDADE
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 8                            IN THE UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                         No. 1:10-CR-00398 AWI
12                              Plaintiff,             ORDER REGARDING FINANCIAL
                                                       ACCOUNTING
13          v.
14   JAMES LEE LANKFORD and JON
     VANCE MCDADE aka Jon Vance
15   Lankford,
16                             Defendant.
17

18          The Defendant herein, JON JON VANCE LANKFORD, is hereby ordered to complete an

19   accounting of any real property ownership interest and accrual and/or distribution of any income
20
     or other funds for the time period of October 2010 to present, to be filed with the Court no later
21
     than March 17, 2014.
22

23
     IT IS SO ORDERED.
24
     Dated: February 27, 2014
25                                               SENIOR DISTRICT JUDGE
26
27

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                                                      3
